Case 1:23-cr-20271-DSL Document 103 Entered on FLSD Docket 03/27/2024 Page 1 of 9




                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                           CASE NO. 1:23-CR-20271

  UNITED STATES OF AMERICA,

  vs.

  BLACKMAN ET AL.

                            Defendants.
                                               /

                 UNITED STATES’ UNOPPOSED MOTION FOR A DISCOVERY
                   PROTOCOL GOVERNING DISCLOSURE OF MATERIAL
                          SUBJECT TO CLAIMS OF PRIVILEGE

          The United States of America, by and through its assigned Filter Team, 1 respectfully files

  this unopposed motion to request authorization and entry of a protocol to disclose discovery

  materials that have been or are potentially subject to claims of privilege by Defendants and certain

  third parties. The United States requests entry of the protocol, attached as Exhibit A to this motion

  (the “Discovery Protocol”), to fulfill its discovery obligations to Defendants while respecting third-

  party claimants’ privileges and to resolve privilege disputes raised by Defendants or third-party

  claimants. The Discovery Protocol will allow Defendants and the third parties to assert attorney-

  client privilege and other applicable protections, provide a process for resolving disputes prior to

  involvement of this Court, and govern the disclosure of non-privileged materials.

  I.      Factual Background

          On June 27, 2023, a grand jury returned an indictment charging Defendants Brett

  Blackman, Gary Cox, and Gregory Schreck with conspiracy to commit healthcare fraud and wire


  1
    The Filter Team in this case consists of Trial Attorney Evan Schlom of the Special Matters Unit in the U.S.
  Department of Justice, Criminal Division’s Fraud Section (hereafter “SMU”). The Filter Team has a separate
  reporting and supervisory chain from the Prosecution Team in this case and is supported by paralegals and other
  professional staff who are not part of the Prosecution Team.
Case 1:23-cr-20271-DSL Document 103 Entered on FLSD Docket 03/27/2024 Page 2 of 9




  fraud, in violation of 18 U.S.C. § 1349, conspiracy to pay and receive healthcare kickbacks, in

  violation of 18 U.S.C. § 371, and conspiracy to defraud the United States and make false statements

  in connection with healthcare matters, in violation of 18 U.S.C. § 371. [ECF No. 1]. On February

  20, 2024, a grand jury returned a superseding indictment adding three counts of healthcare fraud,

  in violation of 18 U.S.C. § 1347 and 18 U.S.C. § 2. [ECF No. 76]. The Superseding Indictment

  alleges a complex and wide-ranging scheme relating to telemedicine, durable medical equipment,

  prescription drugs, and other medical products that spanned more than five and a half years. See

  id. at 11-14. This case was certified as complex based on a joint motion from all Defendants. [ECF

  No. 34].

  II.    The Filter Review

         As part of several investigations across multiple jurisdictions, the Government executed

  numerous email and premises search warrants seizing material from multiple potential privilege

  holders, including Defendants as well as third parties. The Filter Team has been reviewing material

  in its possession from those investigations that was identified as potentially discoverable in this

  matter and seeking consent from individual Defendants and third-party privilege holders to release

  such material to all Defendants. The Filter Team is currently withholding from Defendants and the

  Prosecution Team approximately 500,000 documents that may be subject to the Government’s

  disclosure obligations but over which a third party, or one of the Defendants individually, may

  hold a potential privilege claim.

  III.   Discovery Protocol for Production of Discovery Material Potentially
         Subject to Privilege Claims

         The proposed Discovery Protocol permits the Filter Team to continue to identify and

  segregate Potentially Protected Material from the Prosecution Team and to release items that are

  not potentially protected to the Prosecution Team and all three Defendants. Moreover, the

                                                  2
Case 1:23-cr-20271-DSL Document 103 Entered on FLSD Docket 03/27/2024 Page 3 of 9




  Discovery Protocol provides a practical and straightforward mechanism for the Government to

  notify privilege holders and resolve potential privilege claims prior to producing their Potentially

  Protected Material in discovery and provide an objecting claimant with an opportunity to be heard.

  Finally, the Discovery Protocol sets forth a procedure for parties to narrow and resolve areas of

  disagreement and allows for expeditious adjudication by the Court of any remaining disputes.

         On March 27, 2024, the Filter Team conferred via email with counsel for Defendants

  Blackman, Cox, and Schreck regarding this Motion, and all confirmed that they did not oppose it.

         Therefore, to fulfill the Government’s discovery obligations to all Defendants, respect

  claimants’ asserted privileges, and resolve privilege disputes, the Government now respectfully

  requests the Court enter an order permitting the Government to disclose discovery materials that

  have been or could potentially be subject to claims of privilege by a Defendant or a third-party

  pursuant to the Discovery Protocol.

  IV.    Argument

         The Government has certain discovery obligations in criminal proceedings. See United

  States v. Jordan, 316 F.3d 1215, 1249–53 (11th Cir. 2003) (explaining Rule 16, Brady, Giglio, and

  Jencks discovery obligations). In situations in which materials in the Government’s possession

  may involve claims of privilege, those discovery obligations must be balanced with the rights of

  privilege holders, who may possess constitutional and statutory rights to the effective assistance

  of counsel and to have privileged communications with those counsel. The Court also has inherent

  power to regulate discovery pursuant to Rule 16(d)(1) of the Federal Rules of Criminal Procedure,

  which permits the Court to “deny, restrict, or defer discovery or inspection, or grant other

  appropriate relief.” The Government’s proposed Discovery Protocol invokes these inherent




                                                   3
Case 1:23-cr-20271-DSL Document 103 Entered on FLSD Docket 03/27/2024 Page 4 of 9




  powers of the Court by using a Filter Team to segregate Potentially Protected Material and provide

  this material to the potential privilege holders for privilege assertion.

         Courts in the Eleventh Circuit have repeatedly recognized the validity of using filter teams

  to properly segregate material subject to a claim of privilege. See In re Sealed Search Warrant and

  Application for Warrant by Telephone or Other Reliable Electronic Means, 11 F.4th 1235, 1250

  (11th Cir. 2021) (explaining that Government filter teams play a widely accepted role that “is

  respectful of, rather than injurious to, the protection of privilege”) (quoting In re Grand Jury

  Subpoenas 04-124-03 and 04-124-05 (Winget), 454 F.3d 511, 522-23 (6th Cir. 2006)); United

  States v. Deluca, 663 F. App’x 875, 877 (11th Cir. 2016). And multiple courts in the Eleventh

  Circuit—including in the Southern District of Florida —have entered similar protocols to the one

  proposed by the Filter Team in this case to handle the segregation and production of Potentially

  Protected Materials. See, e.g., United States v. Carver, No. 22-cr-80022, 2022 WL 1681917 (S.D.

  Fla. May 9, 2022); United States v. Murillo Prijic, No. 21-cr-60340-PCH, 2021 WL 6111657 (S.D.

  Fla. Dec. 27, 2021); United States v. Port, 19-20583, ECF No. 194 (S.D. Fla. Nov. 30, 2021);

  United States v. Stein, No. 21-cr-20321, ECF. No. 58 (S. D. Fla. Oct. 29, 2021); United States v.

  Garipoli, No. 19-cr-80196, ECF No. 60 (S.D. Fla. Mar. 11, 2021); United States v. Patel, No. 19-

  cr-80181, 2020 WL 3118291 (S.D. Fla. June 8, 2020).

         Further, many courts in other jurisdictions, including in the Third, Fourth, Fifth, and Sixth

  Circuits, have also recently entered protocols similar to the one sought here. See, e.g., United States

  v. Farizani, No 4:21-cr-62, ECF No. 153 (S.D. Tex. Feb. 16, 2024); United States v. Fletcher, No.

  2:21-cr-64-DLB-CJS, 2022 WL 1118042 (E.D. Ky. Mar. 8, 2022); United States v. Siefert, No.

  2:21-2-DLB-CJS, 2021 WL 3076940 (E.D. Ky. July 17, 2021); United States v. Reifler, No. 1:20-

  cr-512-1, 2021 WL 2253134 (M.D.N.C. June 2, 2021); United States v. Salahaldeen, No. 3:20-cr-



                                                     4
Case 1:23-cr-20271-DSL Document 103 Entered on FLSD Docket 03/27/2024 Page 5 of 9




  839, 2021 WL 2549197 (D.N.J. May 7, 2021); United States v. Kennedy, 19-cr-842, ECF No. 32

  (S.D. Tex. Apr. 21, 2021). Accordingly, where, as here, a court is faced with criminal litigation

  involving potential claims of attorney-client privilege from multiple defendants and multiple third

  parties, a Filter Team and a protocol provide a practical means for narrowing and ultimately

  adjudicating such claims.

         The Protocol requires authorization from the potential privilege holder(s) or the Court

  before the Filter Team releases any Potentially Protected Material to the Prosecution Team or

  Defendants. Thus, this Protocol does not authorize the Government to adjudge whether specific

  material is privileged, and instead leaves adjudication of any privilege claims to the Court. See

  Fed. R. Evid. 501. Nonetheless, because “[t]he burden of establishing the privilege rests with the

  client or with the party objecting to the disclosure of the communication,” McClary v. Walsh, 202

  F.R.D. 286, 291 (N.D. Ala. 2000), including through a particularized showing, the Court cannot

  practically adjudicate privilege claims here without employing an orderly process. Moreover, “a

  party cannot meet its burden of proof with a blanket assertion of privilege.” In re Grand Jury

  Subpoena, 831 F.2d 225, 228 (11th Cir. 1987). For these reasons, the Filter Team respectfully

  proffers that the proposed Protocol provides the Court with such an orderly process whereby the

  potential privilege holder(s) may assert any privilege claims with particularity through a privilege

  log; all parties may confer in attempts to narrow any disputes; and, if necessary, the Court may

  inspect Potentially Protected Material in camera for adjudication. Further, the Proposed Protocol

  provides a practical mechanism for the Government to notify and resolve potential third-party

  claimants’ claims prior to producing their Potentially Protected Material in discovery, and it give

  an objecting claimant an opportunity to be heard.




                                                   5
Case 1:23-cr-20271-DSL Document 103 Entered on FLSD Docket 03/27/2024 Page 6 of 9




         Finally, the Protocol further protects privilege claims by limiting any waiver of a privilege

  in this proceeding and any future proceedings. See Fed. R. Evid. 502(d) (providing that a court

  may “order that [a] privilege or protection is not waived by disclosure connected with the litigation

  pending before the court — in which event the disclosure is also not a waiver in any other federal

  or state proceeding.”). In doing so, a potential claimant need not assert a privilege claim solely out

  of concern that the privilege will be waived in another proceeding. Consequently, the Protocol

  allows the Parties to focus on the most relevant materials and the most significant claims.

  V.     Conclusion

         The proposed Discovery Protocol allows for a fair and efficient discovery and disclosure

  process while allowing defendant and third parties to assert valid claims of privilege, engages

  Defendants and third-party privilege holders in the process for asserting privileges, allows the

  parties to narrow the areas of disagreement, and designates the Court as the final adjudicator of

  any privilege disputes or determinations. For these reasons and as set forth above, the Government

  respectfully requests that this Court grant the United States’ request for authorization and entry of

  a protocol to disclose discovery material that has been or is potentially subject to claims of

  privilege by Defendants and certain third parties.



                                                *****




                                                    6
Case 1:23-cr-20271-DSL Document 103 Entered on FLSD Docket 03/27/2024 Page 7 of 9




  This the 27th day of March, 2024

                                           Respectfully submitted,
                                           GLENN LEON, CHIEF
                                           CRIMINAL DIVISION, FRAUD SECTION
                                           U.S. DEPARTMENT OF JUSTICE

                                           MARKENZY LAPOINTE
                                           UNITED STATES ATTORNEY

                                     By:   /s/ Evan N. Schlom
                                           EVAN N. SCHLOM (FL Bar # A5503172)
                                           Trial Attorney
                                           United States Department of Justice
                                           Criminal Division, Fraud Section
                                           Special Matters Unit
                                           1400 New York Avenue NW
                                           Washington, DC 20530
                                           Tel: (202) 616-5720
                                           evan.schlom@usdoj.gov




                                              7
Case 1:23-cr-20271-DSL Document 103 Entered on FLSD Docket 03/27/2024 Page 8 of 9




                              CERTIFICATE OF CONFERENCE

         I hereby certify that on March 27, 2024, I conferred via email with counsel for Defendants
  regarding this Motion for a Discovery Protocol Governing Disclosure of Material Subject to
  Claims of Privilege. Defendants do not oppose this Motion.




                                                 8
Case 1:23-cr-20271-DSL Document 103 Entered on FLSD Docket 03/27/2024 Page 9 of 9




                                  CERTIFICATE OF SERVICE

          I hereby certify that, on March 27, 2024, I filed the foregoing with the Clerk of the Court
  using the CM/ECF system.

                                                /s/ Evan N. Schlom
                                                EVAN N. SCHLOM
                                                Trial Attorney, Fraud Section




                                                   9
